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EXHIBIT A

 

 

 

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. L<>an NOI ‘M
> 1 ;_1 '~ FIXED RATE NoTE
Private Client 15/30 Year Fixed 10 Year Interest Only
August 8, 2003 k Deltona Florida
[Date] [City] ' [State]

126 Hickory Stick Court, Debary, FL 32713
[Property Address]

1. BORROWER’S PROMISE TO PAY

in return for a loan that l have received, I promise to pay U.S. $ 292,000.00 (this amount is called "principal"),
plus interest, to the order of the Lender. The Lender is AmSouth Bank . l understand that the lender may transfer this
Note. The Lender or anyone who takes this Note by transfer and who is entitled to receive payments under this Note is called

the "Note Holder. "

2. lNTERES'I' v
lnterest will be charged on unpaid principal until the full amount of principal has been paid. I will pay interest at a
yearly rate of 5.500 %. The interest rate required by this Section 2 is the rate I will pay both before and after my default

described in Section 6(B) of this Note.

3. PAYMENTS

(A) Time and Place of Payments

For the first 120 months of my loan, l will pay all interest that is charged on my loan every month. Beginning with
my llet payment, l will pay principal and interest by making payments every month.

l will make my monthly payments on the first day of each month beginning on October l, 2003 ,
I will make these payments every month until I have paid all of the principal and interest and any other charges described
below that I may owe under this Note. My monthly payments will be applied to interest before principal. If, on
September 1, 2033 , l still owe amounts under this Note, I will pay those amounts in full on that date, which is called the
“Maturity Date."

l will make my monthly payments at 2050 Parkway Office Circle, Birmingham, AL 35244 or at a different
place if required by the Note Holder.

(B) Amount of My Initial Monthly Payments
Each of my initial monthly payments will be in the amount of U.S. $ 1,338.33 . This amount may change.

4. BORROWF,R’S RIGH’I` TO PRF,PAY

l have the right to make payments of principal at any time before they are due. A payment of principal only is known
as a "prepayment. " When I make a-prepayment, I will tell the Note Holder in writing that I am doing so.

l may make a full prepayment or partial prepayments without paying any prepayment charge The Note Holder will
use all of my prepayments to reduce the amount of principal that I owe under this Note. If l make a partial prepayment, there
will be no changes in the due dates on my monthly payments unless the Note Holder agrees in writing to those changes

5. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (i) any such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (ii) any sums already
collected from me which exceeded permitted limits will be refunded to me, The Note Holder may choose to make this refund
by reducing the principal I owe under this Note or by making a direct payment to me. If a refund reduces principal, the
reduction will be treated as a partial prepayment

6. BORROWER’S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

If the Note Holder has not received the full amount of any monthly payinth by the end of fifteen calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5 % of my overdue
payment of principal and interest. l will pay this late charge promptly but only once on each late payment.

(B) Default
lf l do not pay the full amount of each monthly payment on the date it is due, l will be in default

(C) Notice of Dei`ault b
If l am in default, the Note Holder may send me a written notice telling me that ifl do not pay the overdue amount

by a certain date, the Note Holder may require me to pay immediately the full amount of principal which has not been paid
and all the interest that I owe on that amount. That date must be at least 30 days after the date on which the notice is delivered

or mailed to me.

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LoanNo;

(D) No Waiver By N _rolder
Even if, at a time when l am in default, the Note Holder does not require me to pay immediately 111 full as described

above, the Note Holder will still have the right to do so if l am in default at a later time.

(E) Payment of Note Holder’s Costs and Expenses
lf the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right

to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law.
Those expenses include, for example, reasonable attorneys’ fees.

7. GIVlNG OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address ifI give the
Note Holder a notice of my different address

Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mail to the
Note Holder at the address stated 111 Section 3(A) above or at a different address if I am given a notice of that different

address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

lf more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of
this Note is also obligated to do these things. Any person who takes over these obligations, including the obligations of a
guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in this Note. b The Note Holder
may enforce its rights under this Note against each person individually or against all of us together. This means that any one
of us may be required to pay all of the amounts owed under this Note.

9. WAIVERS 1‘

land any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of dishonor" means
the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNlFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions ln addition to the protections given
to the Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the "Security lnstrument"), dated the same
date as this Note, protects the Note Holder from possible losses which might result ifl do not keep the promises which I make
in this Note. That Security lnstrument describes how and under what conditions l may be required to make immediate
payment in fulI of all amounts I owe under this Note. Some of those conditions are described as follows:

Transt'er of the Property or a BeneHcial lnterest in Borrower. If all or any part of the Property or any interest in it is
sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a natural person)
without bender’s prior written consent, Lender may, at its option, require immediate payment in full of all sums secured
by this Security Instrument. However, this option shall not be exercised by Lender if exercise is prohibited by federal law
as of the date of this Security Instrument. Lender also shall not exercise this option if: (a) Borrower causes to be submitted
to Lender information required by Lender to evaluate the intended transferee as if a new loan were being made to the
transferee; and (b) Lender reasonably determines that Lender’s security will not be impaired by the loan assumption and
that the risk of a breach of any covenant or agreement in this Security Insrument is acceptable to Lender.

To the extent permitted by applicable law, Lender may charge a reasonable fee as a condition to bender’s consent
to the loan assumption Lender may also require the transferee to sign an assumption agreement that is_ acceptable to
Lender and that obligates the treansferee to keep all the promises and agreements made in the Note and in this Security
lnstrument unless Lender releases Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of
acceleration The notice shall provide a period of not less than 30 days from the date the notice is delivered or mailed
within which Borrower must pay all sums secured by this Security Instrurnent If Borrower fails to pay these sums prior to
the expiration of this period, Lender may invoke any remedies permitted by this Security Instmment without further notice

or demand on Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

 

 

 

RObM. Thit:'Sv ' Borrower 1113 Ru'th Thies ~ Borrower
(Seal) (Seal)
- Borrower » Borrower

[Sign Original Only]

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TO NOTE
Private Client Products
Tliis addendum is made to the Note dated August 8,_ 2003, as modified or amended ("Note"), which Note is payable to AmSoutll

Bank by the undersigned, Notwithstanding any provisions in the Note with respect to the lndex, Margin, adjustment period and/or
amortization schedule, the Note is hereby amended to add the following additional provision:

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Unless I amin default or this Addendum will not permit me to do so, I may amend this Note and the Security Instrurnent to
change its terms to the terms of any fixed or adjustable rate "Private Client"‘ residential mortgage loan then offered by the Lender.
To exercise this option, l must first meet certain conditions as follows: (i) there must have been a satisfactory (in Lender’s sole
discretion) payment history under the Note; (ii) I must give the Note Holder written notice that l want to exercise the option; (iii)
by the date specified by the Note Holder, l must pay the Note Holder a fee of $l(_JQ0.00, and l must deliver to the Lender a
binding commitment from the title insurer for my loan to endorse the Lender’s title insurance policy to reflect the modification
subject to no exceptions other than those contained in the Lender’s original title insurance policy; (iv) I must sign and give the
Note Holder any doctiments the Note Holder requires to effect the amendment; (v) I must pay any title insurance premiums and
fees for the commitment and endorsement described above and any recording fees, taxes or costs or charges; (vi) the loan must be
owned and serviced by AmSoutlt/Dovenmuehle; (vii) the modified loan must be one of AtnSouth Bank’s currently offered Private
Client Products; (viii) the option to modify is available only one time during this period and can be exercised only once during
the life of the loan; and (ix) at the time of modification, all rate quotes will be derived from the 0 & 0 rate, with no risk grade
pricing adjustment.-~ Pricing adjustments based on loan size may be considered. This option may be exercised only to the extent
permitted by applicable law. This option may also be exercised only if (i) the Note Holder at the time of exercise is the original
Lender under this Note or an assignee that is an affiliated company of such Lender and (ii) at least twelve (12) months and not
more than 36 months have elapsed between the date of the Note and the date of the amendment.

 

 

The foregoing provision is in addition to the terms of the Note, as modified by any prior modification or addendum, which terms
are hereby confirmed in all respects. Any capitalized term used in this Addendum and not defined herein shall have the meaning
given to such term in the Note. The Lender is hereby authorized at its option, to reference this Addendum on the face of the

Note.

Executed as a document under seal as of the date of the Note.

WITNESS:

  

 

 

 

 

 

 

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ob@ Tbi \J v \ Borrower

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Ina Ruth Thies l Borrower

’ (SEAL)
Borrower

(SEAL)
Borrower

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ACKNOWLEDGED AND AGREED

AmSouth Bank , ~ , as bender

By:

 

Loan No: _

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Instrumenta 2905~206582
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When Recorded Mail to:
Southern Title Of Cen Fla, Inc
440 Deltona Boulevard
Deltona, FL 32725

 

 

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This Mortgage prepared by: Donna Savard/ AmSouth Bank
13535 Feathersound Drive
Bldg. 1, Ste. 300
Clearwater, FL 33762

Loan NO: m= MURTGAGE

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are denned in Sections 3, 11, 13, 18, 20 and
21. Certain rules regarding the usage of words used in this document are also provided in Section 16.

(A) “Secur'ity Instrument” means this document, which is dated August 8, 2003, together with all Riders to this document
(B) “Borrower” is Robert M. Thies and lna Ruth Thies, husband and Wife. Borrower is the mortgagor under this

Security lnstrument.

(C) “Lender'” is AmSouth Bank. Lender is a Bank organized and existing under the laws of Alabama. Lender’s address is
2050 Parkway Office Circle, Birmingham, AL 35244. Lender is the mortgagee under this Security Instrument.
(D) “Note” means the promissory note signed by Borrower and dated August 8, 2003. The Note states that Borrower owes

Lender Two Hundred Ninety Two Thousand Dollars (U.S. $292,000.00) plus interest. Borrower has promised to pay this debt

in regular Periodic Payments and to pay in full not later than September 1, 2033.
(E) “Property” means the property that is described below under the heading “Transfer of Rights in the Property.”

(F) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under the
Note, and all sums due under this Security Instrument, plus interest.
(G) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following Riders are to be
executed by Borrower:

EAdjustable Rate Rider [:Condominium Rider :]Second Home Rider

[:jBalloon Rider -Planned Unit Development Rider [:jOther(s):

E 1-4 Family Rider EBiweekly Payment Rider
(H) “Applicable Law” means all controlling applicable federal, State and local statutes, regulations, ordinances and
administrative rules and orders (that have the effect of law) as well as all applicable Hnal, non-appealable judicial opinions
(l) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and other charges that are

imposed on Borrower or the Property by a condominium association, homeowners association or similar organization

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(J) - “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by check, draft, or similar
paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or magnetic tape so as to
order, instruct, or authorize a financial institution to debit or credit an account. Such term includes, but is not limited to,
point-of~sale transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and automated
clearinghouse transfers

(K) “Escrow Items” mean those items that are described in Section 3.

(L) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds paid by any third party
(other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or destruction of, the Property;
(ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv)
misrepresentations of, or omissions as to, the value and/or condition of the Property.

(M) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the Loan.

(N) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under the Note, plus (ii) any
amounts under Section 3 of this Security Instrument

(O) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing regulation,
Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or successor legislation or
regulation that governs the same subject matter. As used in this Security lnstrument, “RESPA” refers to all requirements and
restrictions that are imposed in regard to a “federally related mortgage loan” even if the Loan does not qualify as a “federally
related mortgage loan’ ’ under RESPA.

(P) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether or not that party has
assumed Borrower’s obligations under the Note and/ or this Security Instrument

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument Secures to Lender: (i) the repayment of the Loan7 and all renewals, extensions and modifications of the
Note; and (ii) the performance of Borrower’s covenants and agreements under this Security Instrument and the Note. For this
purpose, Borrower does hereby mortgage, grant and convey to Lender, the following described property located in the County of

VOLUS'IA, Florida:

which currenktly has the_ address of 126 Hickory Stick Court, Debary, FL 32713 (“Property Address”):
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TOGETHER WlTl-l all the improvements now or hereafter erected on the property, and all easements, appurtenances7 and
fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this Security Instrument

All of the foregoing is referred to in this Security Instrument as the “Property,”

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BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to mortgage,
grant and convey the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants and
will defend generally the title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY lNSTRUMENT combines uniform covenants for national use and non-uniform covenants with limited
variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, lnterest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay when
due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due under the
Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
Instrument shall be made in U.S. currency. However, if any check or other instrument received by Lender as payment under the
Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under
the Note and this Security Instrument be made in one or more of the following forms, as selected by Lender: (a) cash; (b) money
order; (c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon an institution
whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other location as
may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment or partial
payment if the payment or partial payments are insufficient to bring the Loan current. Lender may accept any payment or partial
payment insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted lf each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied funds
Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current lf Borrower does not do so within
a reasonable period of time, Lender shall either apply such fimds or return them to Borrower. If not applied earlier, such funds will
be applied to the outstanding principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due under the Note and this Security
Instrument or performing the covenants and agreements secured by this Security Instrument

2 Application of Payments or Proceeds. Except as otherwise described rn this Section 2 all payments accepted and
applied by Lender shall be applied rn the following order of priority: (a) interest due under the Note; (b) principal due under the
Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in the order rn which it became
due. Any remaining amounts shall be applied first to late charges, second to any other amounts due under this Security Instrument,
and then to reduce the principal balance of the Note.

if Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to pay
any late charge due, the payment may be applied to the delinquent payment and the late charge. lf more than one Periodic Payment
is outstanding, Lender may apply any payment received from Borrower to the repayment of the Periodic Payments if, and to the
extent that, each payment can be paid in full. To the extent that any excess exists after the payment is applied to the full payment of
one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be applied first to
any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note, until
the Note is paid in full, a sum (the “Funds”) to provide for payment of amounts due for: (a) taxes and assessments and other items
which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b) leasehold payments or ground
rents on the Property, if any; (c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage
lnsurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
accordance with the provisions of Section 10. These items are called “Escrow ltems.” At origination or at any time during the term
of the Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and
such dues, fees and assessments shall be an Escrow ltem. Borrower shall promptly furnish to Lender all notices of amounts to be
paid under this Section. Borrower shall pay Lender the Funds for Escrow Iterns unless Lender waives Borrower’s obligation to

 

 

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pay to Lender Funds for any or all Escrow Iterns at any time, Any such waiver may only be in writing. In the event of such waiver,
Borrower shall pay directly, when and where payable, the amounts due for any Escrow ltems for which payment of Funds has been
waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as
Lender may require. Borrower’s obligation to make such payments and to provide receipts shall for all purposes be deemed to be a
covenant and agreement contained in this Security lnstrument, as the phrase “covenant and agreement” is used in Section 9. lf
Borrower is obligated to pay Escrow ltems directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow
ltem, Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to
repay to Lender any such amount Lender may revoke the waiver as to any or all Escrow ltems at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then
required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender shall estimate
the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow ltems or otherwise
in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall apply
the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower for holding and
applying the Funds, annually analyzing the escrow account, or verifying the Escrow ltems, unless Lender pays Borrower interest on
the Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on the Funds, Lender Shall not be required to pay Borrower any interest or earnings on the Funds.
Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower,
without charge, an annual accounting of the Funds as required by RESPA.

lf there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in accordance
with RESPA, but in no more than 12 monthly payments If there is a deiiciency of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
deficiency in accordance with RESPA, but in no more than 12 monthly payments

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, rines, and impositions attributable to the Property
which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if any, and Community
Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow ltems7 Borrower shall pay them in the
manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a) agrees in
writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as Borrower is
performing such agreement; (b) contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings are pending, but only until such
proceedings are concluded; or (c) Secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to
this Security Instrument lf Lender determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is
given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used by
Lender in connection with this Loan.

5 . Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property insured
against loss by fire, hazards included within the term “extended coverage,” and any other hazards including, but not limited to,
earthquakes and floods, for which Lender requires insurance. This insurance shall be maintained in the amounts (including
deductible levels) and for the periods that Lender requires What Lender requires pursuant to the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
disapprove Borrower’s choice, which right shall not be exercised unreasonably Lender may require Borrower to pay, in connection
with this Loan, either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each time remappings or similar changes
occur which reasonably might affect such determination or certification Borrower shall also be responsible for the payment of any
fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone determination

 

resulting from an objection by Borrower.
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If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender)s
option and Borrower’s expense Lender is under no obligation to purchase any particular type or amount of coverage Therefore,
such coverage shall cover Lender, but might or might not protect Borrower, Borrower’s equity in the Property, or the contents of
the Property, against any risk, hazard or liability and might provide greater or lesser coverage than was previously in effect.
Borrower acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
Borrower could have obtained Any amounts disbursed by Lender under this Section 5 Shall become additional debt of Borrower
secured by this Security Instrument These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s right to disapprove
such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss payee.
Lender shall have the right to hold the policies and renewal certificates lf Lender requires, Borrower shall promptly give to Lender
all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by
Lender, for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall name Lender
as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof of loss
if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance proceeds, whether or
not the underlying insurance was required by Lender, shall be applied to restoration or repair of the Property, if the restoration or
repair is economically feasible and Lender’s security is not lessened. During such repair and restoration period, Lender shall have
the right to hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been
completed to Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for
the repairs and restoration in a single payment or in a series of progress payments as the work is completed Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not
be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not economically
feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to the sums secured by this Security
lnstrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the
order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related matters.
If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle a claim, then
Lender may negotiate and settle the claim. The 30-day period will begin when the notice is given. ln either event, or if Lender
acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower’s rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of
Borrower’s rights (other than the right to any refund of unearned premiums paid by Borrower) under all insurance policies covering
the Property, insofar as such rights are applicable to the coverage of the Property. Lender may use the insurance proceeds either to
repair or restore the Property or to pay amounts unpaid under the Note or this Security lnstrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal residence within 60 days
after the execution of this Security Instrument and shall continue to occupy the Property as Borrower’s principal residence for at
least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably
withheld, or unless extenuating circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy, damage or
impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not Borrower is residing in the
Property, Borrower shall maintain the Property in order to prevent the Property from deteriorating or decreasing in value due to its
condition Unless it is determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage lf insurance or condemnation proceeds are paid
in connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or restoring the Property
only if Lender has released proceeds for such purposes Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the Work is completed lf the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower’s obligation for the completion of such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause, Lender
may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or prior to such an

interior inspection specifying such reasonable cause.

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8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application process, Borrower or any
persons or entities acting at the direction of Borrower or with Borrower’s knowledge or consent gave materially false, misleading,
or inaccurate information or statements to Lender (or failed to provide Lender with material information) in connection with the
Loan. Material representations include, but are not limited to, representations concerning Borrower’S occupancy of the Property as
Borrower’s principal residence

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If (a) Borrower fails to
perform the covenants and agreements contained in this Security Instrument, (b) there is a legal proceeding that might significantly
affect Lender’s interest in the Property and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probate,
for condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security instrument or to enforce laws
-or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate
to protect Lender’s interest in the Property and rights under this Security lnstrument, including protecting and/or assessing the
value of the Property, and securing and/or repairing the Property. Lender’s actions can include, but are not limited to, (a) paying
any sums secured by a lien which has priority over this Security lnstrument, (b) appearing in court, and (c) paying reasonable
attorneys’ fees to protect its interest in the Property and/ or rights under this Security lnstrument, including its secured position in a
bankruptcy proceeding Securing the Property includes, but is not limited to, entering the Property to make repairs, change locks,
replace or board up doors and windows, drain water from pipes, eliminate building or other code violations or dangerous
conditions, and have utilities turned on or off. Although Lender may take action under this Section 9, Lender does not have to do
so and is not under any duty or obligation to do so. lt is agreed that Lender incurs no liability for not taking any or all actions
authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
Instrument These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such
interest, upon notice from Lender to Borrower requesting payment

lf this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. lf Borrower
acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. lf Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall pay
the premiums required to maintain the Mortgage Insurance in effect. lf, for any reason, the Mortgage Insurance coverage required
by Lender ceases to be available from the mortgage insurer that previously provided such insurance and Borrower was required to
make separately designated payments toward the premiums for Mortgage lnsurance, Borrower shall pay the premiums required to
obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost
to Borrower of the Mortgage insurance previously in effect, from an alternate mortgage insurer selected by Lender. If substantially
equivalent Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage lnsurance. Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or
earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount
and for the period that Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and Lender
requires separately designated payments toward the premiums for Mortgage lnsurance. If Lender required Mortgage Insurance as a
condition of making the Loan and Borrower was required to make separately designated payments toward the premiums for
Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a
non-refundable loss reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note,

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower
does not repay the Loan as agreed. Borrower is not a party to the Mortgage lnsurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into agreements
with other parties that share or modify their risk, or reduce losses. These agreements are on terms and conditions that are
satisfactory to the mortgage insurer and the other party (or parties) to these agreements These agreements may require the
mortgage insurer to make payments using any source of funds that the mortgage insurer may have available (which may include

funds obtained from Mortgage Insurance premiums).

 

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As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity, or any
affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized as) a
portion of Borrower’s payments for Mortgage lnsurance, in exchange for sharing or modifying the mortgage insurer’s risk, or
reducing losses. lf such agreement provides that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of
the premiums paid to the insurer, the arrangement is often termed “captive reinsurance ’ ’ Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance, or
any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage lnsurance, and
they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage Insurance
under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to receive certain
disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated
automatically, and/or to receive a refund of any Mortgage Insurance premiums that were unearned at the time of such

cancellation or termination
11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall be

paid to Lender.

lf the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if the
restoration or repair is economically feasible and Lender’s security is not lessened During such repair and restoration period,
Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender
may pay for the repairs and restoration in a single disbursement or in a series of progress payments as the work is completed
Unless an agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender’s security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by
this Security lnstrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.

ln the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of the sums secured by this
Security Instrument immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the partial taking, destruction, or
loss in value divided by (b) the fair market value of the Property immediately before the partial taking, destruction, or loss in value.
Any balance shall be paid to Borrower.

ln the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured immediately before
the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument whether or not the sums are then due.

_ lf the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined in
the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender within 30 days after
the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of
the Property or to the sums secured by this Security lnstrument, whether or not then due.“Opposing Party” means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender’s judgment,
could result in forfeiture of the Property or other material impairment of Lender’s interest in the Property or rights under this
Security Instrument Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section 19, by
causing the action or proceeding to be dismissed with a ruling that, in Lender’s judgment, precludes forfeiture of the Property or
other material impairment of Lender’s interest in the Property or rights under this Security Instrument The proceeds of any award
or claim for damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned and shall be

paid to Lender.
All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order

provided for in Section 2.

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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modification
of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor in lnterest of
Borrower shall not operate to release the liability of Borrower or any Successors in lnterest of Borrower. Lender shall not be
required to commence proceedings against any Successor in lnterest of Borrower or to refuse to extend time for payment or
otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors in lnterest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
1 without limitation, Lender’s acceptance of payments from third persons, entities or Successors in lnterest of Borrower or in
1 amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees that
Borrower’s obligations and liability shall be joint and several. However, any Borrower who co-signs this Security Instrument but
§ does not execute the Note (a “co-signer”): (a) is co-signing this Security Instrument only to mortgage, grant and convey the
co-signer’s interest in the Property under the terms of this Security lnstrument; (b) is not personally obligated to pay the sums
secured by this Security lnstrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in lnterest of Borrower who assumes Borrower’s obligations under
this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower’s rights and benefits under this Security
lnstrument. Borrower shall not be released from Borrower’s obligations and liability under this Security Instrument unless Lender
agrees to such release in writing The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower’s default, for
the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, but not limited to,
attorneys’ fees, property inspection and valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not
charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

lf the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest or
other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a) any such loan
charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected
from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing
the principal owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the
Note). Borrower’s acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any right of
action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing
Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when mailed
by first class mail or when actually delivered to Borrower’s notice address if sent by other means. Notice to any one Borrower shall
constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice address shall be the Property
Address unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
Borrower’s change of address If Lender specifies a procedure for reporting Borrower’s change of address, then Borrower shall
only report a change of address through that specified procedure There may be only one designated notice address under this
Security Instrument at any one time, Any notice to Lender shall be given by delivering it or by mailing it by first class mail to
Lender’s address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection with
this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. lf any notice required
by this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the corresponding
requirement under this Security Instrument

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal law and
the law of the jurisdiction in which the Property is located. All rights and obligations contained in this Security Instrument are
subject to any requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to
agree by contract or it might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In the
event that any provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not
affect other provisions of this Security Instrument or the Note which can be given effect without the conflicting provision

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter words
or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and (c) the word

“may” gives sole discretion without any obligation to take any action.

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17 . Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument

18. Transf`er of the Property or a Beneficial lnterest in Borrower. As used in this Section 18, “lntercst in the
Property” means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests transferred
in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by
Borrower at a future date to a purchaser.

lf all or any part of the Property or any lnterest in the Property is sold or transferred (or if Borrower is not a natural
person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security lnstrument. However, this option shall not be exercised by Lender
if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide a period of not
less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay all sums secured
by this Security lnstrument. lf Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower.

19. Borrower’s Right to Reinstate At'ter Acceleration. If Borrower meets certain conditions, Borrower shall have the
right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five days before sale of
the Property pursuant to any power of sale contained in this Security lnstrument; (b) such other period as Applicable Law might
specify for the termination of Borrower’s right to reinstate; or (c) entry of a judgment enforcing this Security Instrument Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as if
no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses incurred in
enforcing this Security lnstrument, including, but not limited to, reasonable attorneys’ fees, property inspection and valuation fees,
and other fees incurred for the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument; and
(d) takes such action as Lender may reasonably require to assure that Lender’s interest in the Property and rights under this Security
lnstrument, and Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged Lender may
require that Borrower pay such reinstatement sums and expenses in one or more of the following forms, as selected by Lender: (a)
cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon
reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration
had occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (together
with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a change in
the entity (known as the “Loan Servicer”) that collects Periodic Payments due under the Note and this Security Instrument and
performs other mortgage loan servicing obligations under the Note7 this Security Instrument, and Applicable Law. There also might
be one or more changes of the Loan Servicer unrelated to a sale of the Note. lf there is a change of the Loan Servicer, Borrower
will be given written notice of the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of transfer of servicing lf the
Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan
servicing obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join7 or be joined to any judicial action (as either an individual litigant or
the member of a class) that arises from the other party’s actions pursuant to this Security Instrument or that alleges that the other
party has breached any provision of, or any duty owed by reason of, this Security lnstrument, until such Borrower or Lender has
notified the other party (with such notice given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after the giving of such notice to take corrective action. lf Applicable Law
provides a time period which must elapse before certain action can be taken, that time period will be deemed to be reasonable for
purposes of this paragraph The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the
notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take
corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 2l: (a)‘ ‘Hazardous Substances” are those substances defined as toxic
or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline, kerosene, other
flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
formaldehyde, and radioactive materials; (b)“Environmental Law” means federal laws and laws of the jurisdiction where the
Property is located that relate to health, safety or environmental protection; (c) “Environmental Cleanup” includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an “Environmental Condition” means a
condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

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Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances, or
threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else to do, anything
affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an Environrnental Condition, or (c)
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely affects the value of the
Property. The preceding two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
(including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim7 demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental Law of
which Borrower has actual knowledge; (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. lf Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup.

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental Law of
which Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. lf Borrower learns, or is notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup.

 

NON~UNIFORM CC)VENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower’s breach
of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless Applicable
Law provides otherwise). The notice shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not
less than 30 days from the date the notice is given to Borrower, by which the default must be cured; and (d) that failure to
cure the default on or before the date specified in the notice may result in acceleration of the sums secured by this Security
Instrument, foreclosure by judicial proceeding and sale of the Property. The notice shall further inform Borrower of the
right to reinstate after acceleration and the right to assert in the foreclosure proceeding the non-existence of a default or any
other defense of Borrower to acceleration and foreclosure. If the default is not cured on or before the date specified in the
notice, Lender at its option may require immediate payment in full of all sums secured by this Security Instrument without
further demand and may foreclose this Security Instrument by judicial proceeding Lender shall be entitled to collect all

~ expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to, reasonable attorneys’
fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this Security Instrument
Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security lnstrument, but only if the
fee is paid to a third party for services rendered and the charging of the fee is permitted under Applicable Law.

24. Attorneys’ Fees. As used in this Security Instrument and the Note, attorneys’ fees shall include those awarded by an
appellate court and any attorneys’ fees incurred in a bankruptcy proceeding

25. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any action, proceeding, claim, or
counterclaim, whether in contract or tort, at law or in equity, arising out of or in any way related to this Security Instrument or the

Note.

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument and
in any Rider executed by Borrower and recorded with it.

ealed and delivered in the presence of:

§l?a:@ nlra

 

 

 

 

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[Space Below This Line For Acknowledgment]

INDIVIDUAL ACKNGWLED GMENT

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._* The foregoing instrument was acknowledged before me this (M day of /%[/ 3 USIL ZUZ,) 3
by /€@)aa t /Vz There -» faa »;a;¢/‘ fares

who is/ are personally known to me or who has/have produced as identification and who

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(Signature of Person Taking Ack_nowled gf/nent)

 

'//"'¢,' MY g:S:/i;g§x§vggq$w% ii (Name of Acknowledger Typed, Printed or Stamped)

EXPlFlES: June 10,2006
Bonded Thru Notary Publlc Underwriters

 

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(Title or Rank)

 

(Serial Number, if any)

 

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Loan No.: ~
PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER is made this Eighth day of August, 2003,
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust or Security
Deed (the “Security lnstrument”) of the same date, given by the undersigned (the “Borrower”) to secure
Borrower’s Note to AmSouth Bank (the “Lender”) of the same date and covering the Property described in the

Security Instrument and located at:

126 Hickory Stick Court, Debary, FL 32713
[Property Address]
The Property includes, but is not limited to, a parcel of land improved with a dwelling, together with other such
parcels and certain common areas and facilities, as described in (the “Declaration”). The Property is a part of a

planned unit development known as

Debary Plantation
[Name of Planned Unit Development]
(the“PUD”). The Property also includes Borrower’s interest in the homeowners association or equivalent entity
owning or managing the common areas and facilities of the PUD (the “Owners Association”) and the uses,
benefits and proceeds of Borrower’s interest.

PUD COVENANTS. In addition to the covenants and agreements made in the Security lnstrurnent,
Borrower and Lender further covenant and agree as follows:

A. PUD Obligations. Borrower shall perform all of Borrower’s obligations under the PUD’s Constituent
Documents. The “Constituent Documents” are the (i) Declaration; (ii) articles of incorporation, trust instrument
or any equivalent document which creates the Owners Association; and (iii) any by~laws or other rules or
regulations of the Owners Association. Borrower shall promptly pay, when due, all dues and assessments
imposed pursuant to the Constituent Documents.

B. Property Insurance. So long as the Owners Association maintains, with a generally accepted insurance
carrier, a “master” or “blanket” policy insuring the Property which is satisfactory to Lender and which provides
insurance coverage in the amounts (including deductible levels), for the periods, and against loss by tire, hazards
included within the term “extended coverage,” and any other hazards, including, but not limited to, earthquakes
and floods, for which Lender requires insurance, then: (i) Lender waives the provision in Section 3 for the
Periodic Payment to Lender of the yearly premium installments for property insurance on the Property; and (ii)
Borrower’s obligation under Section 5 to maintain property insurance coverage on the Property is deemed
satisfied to the extent that the required coverage is provided by the Owners Association policy.

What Lender requires as a condition of this waiver can change during the term of the loan.

Borrower shall give Lender prompt notice of any lapse in required property insurance coverage provided by
the master or blanket policy.

ln the event of a distribution of property insurance proceeds in lieu of restoration or repair following a loss to
the Property, or to common areas and facilities of the PUD, any proceeds payable to Borrower are hereby
assigned and shall be paid to Lender. Lender shall apply the proceeds to the sums secured by the Security
lnstrument, whether or not then due, with the excess, if any, paid to Borrower.

MULTISTATE PUD RIDER--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 31 50 'l/Ol

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C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure that the
Owners Association maintains a public liability insurance policy acceptable in foim, amount, and extent of
coverage to Lender.

D. Condemnation. The proceeds of any award or claim for damages, direct or consequential, payable to
Borrower in connection with any condemnation or other taking of all or any part of the Property or the common
areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are hereby assigned and shall be
paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the Security Instrument as
provided in Section ll.

E. Lender’s Prior Consent. Borrower shall not, except after notice to Lender and with Lender’s prior
written consent, either partition or subdivide the Property or consent to: (i) the abandonment or termination of the
PUD, except for abandonment or termination required by law in the case of substantial destruction by fire or other
casualty or in the case of a taking by condemnation or eminent domain; (ii) any amendment to any provision of
the “Constituent Documents” if the provision is for the express benefit of Lender; (iii) termination of
professional management and assumption of self-management of the Owners Association; or (iv) any action which
would have the effect of rendering the public liability insurance coverage maintained by the Owners Association
unacceptable to Lender.

F. Remedies. If Borrower does not pay PUD dues and assessments when due, then Lender may pay them.
Any amounts disbursed by Lender under this paragraph F shall become additional debt of Borrower secured by
the Security lnstrument. Unless Borrower and Lender agree to other terms of payment, these amounts shall bear
interest from the date of disbursement at the Note rate and shall be payable, with interest, upon notice from
Lender to Borrower requesting payment.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this PUD Rider.

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R.obef't M. ‘Pliies " -Borrower

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MULTISTATE PUD RIDER~-single Family--Famne Mae/Freddie Mac UNIFORM INSTRUMENT Form 31 50 1/01
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EXHIBIT A

 

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